Case 5:03-cV-Ol477-C Document 6 Filed 10/23/03 Page 1 of 2

`AO-Ht) (Rev. ]WJ)SmmonsinsCivil Accion

UNITED STATES DISTRICT CoURT
WESTERN DISTRJCT OF OKLAHOMA

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TO: (N@mandadmoweremm)

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2\0\ N. \,\Nu>u\) Be\)\>.

©\LU>¢\-»OMA UT\{_ 014 75le

YOU ARE HEREBY SUMMONED and required to serve upon PLA]NTIFF’S ATTORNEY (namandaddms)

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©\Lu><w> mm Q\T\{ . OL 7510(¢,

an answer to the complaint which is herewith served upon you, within 2 0 days alter service of this
summons upon you, exclusive of the day of service If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Courc within a reasonable
period of time alter service

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(By) @UTY filij

 

DATE

 

¢~ Case 5:03-cV-Ol477-C Document 6 Filed 10/23/03 Page 2 of 2

)AO-‘H\P(Rcv. 10/93} Smmm in a Civil Action

 

 

 

RETURNOFSERVICE
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Check one box below to indicate i_zggmpria¢e method of service

|:| Seived personally upon the third-party defendant Piace where served:

 

 

‘ ij Left copies thereofat tile defendm’s dwelling house orusual place ofabode with a person ofsuiizble age and
discretion then residing therew.

Name of person with whom the summons and complaint were left

 

ij Retumed unexecutod:

 

 

 

'El Other(specify): F¢>»\- 5611101,'$5/`0/)€¢- 1094/53 14 600/ay /¢¢:c €,,O/¢Pc>/£§
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STATEMENI` OF SERVICE FEES

 

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DECLARATION OF SERVER

 

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